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     Attorneys for Defendants Automattic Inc. and
17   Matthew Charles Mullenweg
18                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                SAN FRANCISCO DIVISION
20
     WPENGINE, INC., a Delaware corporation,        Case No. 3:24-cv-06917-AMO
21
                    Plaintiff,                      DECLARATION OF JIAXING (KYLE)
22                                                  XU IN SUPPORT OF DEFENDANTS’
           vs.                                      MOTION TO STRIKE AND OPPOSITION
23
                                                    TO PLAINTIFF’S MOTION FOR
24   AUTOMATTIC INC., a Delaware                    PRELIMINARY INJUNCTION
     corporation; and MATTHEW CHARLES
25   MULLENWEG, an individual,                      Judge: Hon. Araceli Martinez-Olguin

26                  Defendants.
27

28
         DECLARATION OF JIAXING (KYLE) XU IN SUPPORT OF DEFENDANTS’ MOTION TO STRIKE
              AND OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                                   Case No. 3:24-cv-06917-AMO
     Case 3:24-cv-06917-AMO            Document 42        Filed 10/30/24     Page 2 of 2




 1           I, Jiaxing (Kyle) Xu, declare as follows:

 2           1.      I am an attorney with the law firm Hogan Lovells US LLP, located at 4 Embarcadero

 3   Center, Suite 3500, San Francisco, CA 94111. As counsel for Defendants Automattic Inc. and

 4   Matthew Charles Mullenweg ("Defendants"), I make this declaration in support of Defendants'

 5   Motion to Strike and Opposition to Motion for Preliminary Injunction.

 6          2.      Attached hereto as Exhibit 1 is a true and correct copy of the website at

 7   https://www.silvertonpartners.com/portfolichiwp-engine', captured on October 29, 2024.

 8           3.     Attached hereto as Exhibit 2 is a true and correct copy of the website at

 9   https:liwpengine.com/blogimilestone-announcement/, captured on October 29, 2024.

10           4.     Attached hereto as Exhibit 3 is a true and correct copy of a PitchBook report of WP

11   Engine, Inc. ("WP Engine") generated on October 29, 2024.

12           5.     Attached hereto as Exhibit 4 is a true and correct copy of a S&P Capital IQ report

13   of WP Engine generated on October 29, 2024.

14          6.      Attached hereto as Exhibit 5 is a true and correct copy of the website at

15   haps://www.silverlake.comiportfoliolwp-enginei, captured on October 29, 2024.

16          7.      Attached hereto as Exhibit 6 is a true and correct copy of X Post on the website at

17   https://x.corn/wpenginelstatus/1840910240801316924, captured on October 30, 2024.

18

19           I declare under penalty of perjury under the laws of the United States of America and the

20   State of California that the foregoing is true and correct.

21

22

23   Dated: October 30, 2024

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25
                                                         By:
26                                                             Jiaxing ( yle) Xu

27
                                                  I
28
          DECLARATION OF JIAXING (KYLE) XU IN  SUPPORT   OF DEFENDANTS' MOTION TO STRIKE
               AND OPPOSITION TO PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION
                                    Case No. 3:24-cv-06917-AMO
